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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

VICKY CAUSEY and ALESHA ARNOLD
Individually and on Behalf of All Others

Similarly Situated PLAINTIFFS

Vv. No. 4:20-cv-687-DPM

BANK OZK DEFENDANT
ORDER

1. The Court regrets its delay in ruling. Notice, Doc. 11,
appreciated. Doc. 8 and all supporting papers are withdrawn.
2. The Court conditionally certifies the following group:
All salaried Assistant Branch managers employed by
Bank OZK since 1 October 2017.
3. The Court approves the agreed Notice and Consent to Join and
proposed method of distribution.
4, Bank OZK shall produce the requested contact information, in
the agreed format, by 15 October 2020.
5. The opt-in period will close on 10 December 2020.

6. Consent motion, Doc. 12, granted.
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So Ordered.

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D.P. Marshall Jr.
United States District Judge

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